Case: 11-14263

Doc: 8

Filed: 08/04/11

Page: 1 of 13

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

 

 

In re: Douglas A Swim )
)
Staci M Swim ) Case No.
} Chapter 7
Debtor(s). }
PAY ADVICE COVER SHEET

 

The following pay advice/income record information is filed on behalf of the debtors:

 

 

 

 

 

 

LI Pay advices are attached as follows:
Employer Beginning date Ending date
Platt College 01/31/2014 07/15/2011
CO The debtor certifies by his/her signature below that he/she has no pay records because:
Dated on August 4,2011_.
isi Douglas A Swim

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by

 

Douglas A Swim
(Debtor Signature)

fis/ Staci M Swim
Staci M Swim
(Joint Signature)

fsf John H. Graves OBA#
(Signature)

John H. Graves OBA#

2119 Riverwalk Dr. Suite 161
Moore, OK 73160

 

405-684-6735 john@johnhgraves.com
Printed Name, Address, Phone

| Attorney for Debtor(s) OBA# 19818

Cy Pro se debtor

Best Case Bankruptcy
 

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Total, Net Direct Depasil(s)
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STACI M SWIM i DESCRIPTION HRS/ RATE CURRENT (9) YTD ARS/ YTD (#
2712 NL.W, 159TH STREET i UNITS UNITS
EDMOND, OK 73013
i REGULAR EARNING 1935.89 5807.67
Soc Sec #: XXX-XX-XAXAAKK Employee ID: 9984 | INCENTIVE 181.50
Hire Date: 07/27/05 i MED 125 POP EE -378.74 9378.74
Status: FT : PRE TAX AFLAC -36.17 -108.54
Filing Status: 401K EE -193.59 598,92
Federal: Married, 0
State: OK, Married, 0 HOURS WORKED
DiviBr/Dept: OKC/PN/INSTR ADJ EARNINGS 1327.39 4903.00
GROSS EARNINGS 1935.89 5989.17
Pay Period: 01/31/14 to 02/11/11 i
Check Date: 02/14/11 Check #: Direct Deposit ‘BEDUCTIONS DESCRIPTION GURRENT {3} YTD [3)
NET PAY ALLOCATIONS
GARNISHMENT 1 392.36 784.72
DESCRIPTION CURRENT (3) YTD (§) MILEAGE REIMBUR -135.61
CHECKING 71-0113 689.83 3278.28 FORT DEARBORN V 15.89 47.67
Net Pay 689.89 3278.28
TOTAL 408.25 895.78
WITHHOLDINGS DESCRIPTION CURRENT (3} YTB (3}
FEDERAL WIH 114.32 481.08
OASOI 63.88 231.08
MEDICARE 22.05 79.78
STATE WIH OK 29.00 136.00
TOTAL 229.25 927.94
CURRENT (3) ¥TO (Sh
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| 689.99 I 3278.28
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11-14263 Doc:

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Last Check Date 02/25/2011

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STACI M SWIM —
2712 NW. 159TH STREET
EDMOND, OK 73013

Soc Sec #; XXX-XX-XXXX Employee ID: 9984
Hire Date: 07/27/05

Status: FT

Filing Status:

Federal: Married, 0

State: OK, Married, 0

Div/Er/Dept: OKC/PN/INSTR

Pay Periad: 02/28/11 to 03/11/71
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CHECKING 1 - 0143 689.89 4658.06
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DESCRIPTION HRS/ RATE CURRENT ($} YTD HRS/ "YTD (8)
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~ REGULAR EARNING 1935.89 9679.45
INCENTIVE 181.50
MED 125 POP EE -378.74 1136.22
PRE TAX AFLAC -36.17 -180.85
401K EE -193,50 -986.10

HOURS WORKED
ADJ EARNINGS 1327.39 7557.78
GROSS EARNINGS 1935.86 9860.95
DEDUCTIONS DESCRIPTION GURRENT (8) YID (3)
GARNISHMENT 1 392.36 1569.44
MILEAGE REIMBUR -135.61
FORT. DEARBORN V 15,89 79.45
TOTAL 408.25 1513.28
WITHHOLDINGS = DESCRIPTION CURRENT (8) ¥TO (§}
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OASDI 63.88 358.84
i MEDICARE 22.05 123.38
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TOTAL 229.28 1386.44
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2712 N.W. 159TH STREET UNITS UNITS
EDMOND, OK 73013
REGULAR EARNING 1935.89 1161534
Soc Sec #: XXX-XX-KXXX Employee ID: 9984 INCENTIVE 481.50
Hire Date: 07/27/05 ’ MED 125 POP EE -378,74 -1514,.96
Status: FT PRE TAX AFLAC -37.74 ~218.59
Filing Status: 401K EE -{93.59 -1179.69
Federal: Married, 0
State: OK, Married, 0 HOURS WORKED
DivieriDepi: OKC/PNINSTR ADJ EARNINGS 1325.82 4883.60
GROSS EARNINGS 1935,89 41796.84
_Pay Period: 03/15/11 to 03/25/11
Check Date: 03/25/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT ($) YTD (3}
NET PAY ALLOCATIONS i
: : GARNISHMENT 1 392,36 1961.80
DESGRIPTION CURRENT (5) YTD (3) | MILEAGE REIMBUR -135.84
CHECKING 1 - 0113 689.64 5347.70 | FORT DEARBORN V 15.89 95.34
Net Pay 689.64 5347.70 |
TOTAL 408.25 4921.53
[ WITHHOLDINGS DESCRIPTION CURRENT (3) YTD (3)
FEDERAL WH 114.08 823.80
OASDI 63.82 422.66
: MEDICARE , 22.03 145.97
i STATE WH OK 29.00 222.00
: TOTAL 227.93 1614.37
| CURRENT (3) YTD (8)
NET PAY
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EDMOND, OK 73013

REGULAR EARNING 1935.89 13551.23
Soc Sec #: XXX-XX-XXXX Employee ID: 9984 INCENTIVE 181.50
Hire Date: 07/27/05 MED 125 POP EE -378.74 -1893.76
Status: FT PRE TAX AFLAC -37.74 -256.33
Filing Status: 401K EE -193.59 “1373.28
Federal: Married, 0
State: OK, Married, 0 HOURS WORKED
Div/Br/Dept: OKC/PN/INSTR ADJ EARNINGS 4325.82 10209.42
GROSS EARNINGS 1935.89 $3732.73
Pay Period: 03/28/11 to 04/28/11 |
Check Date: 04/08/14 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT ($) YTD (3}
NET PAY ALLOCATIONS . :
GARNISHMENT 1 392.36 2354.16
DESCRIPTION CURRENT (3} YTD (3) MILEAGE REIMBUR -135.61
CHECKING 1 - 0113 678.43 6026.13 FORT DEARBORN V 16.58 411.92
Net Pay 678.43 8028.13
TOTAL 408.94 2330.47
WITHHOLDINGS DESCRIPTION CURRENT (3) YTD ($}
FEDERAL WiH 120.60 944.40
OaSODI 63.82 486.48
MEDICARE 22.03 187.94
STATE WH OK 32.00 254,00
TOTAL 238.45 1852.82
: CURRENT (5} YTD {3}
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REGULAR EARNING 1935.89 15487 412
Soc Sec #: XXX-XX-XXXX Employee iD: 9984 INCENTIVE 181.50
Hire Date: 07/27/05 MED 125 POP EE -378.74 2272.44
Status: FT PRE TAX AFLAC 37.74 294.07
Filing Status: . 401K EE -493.59 ~1 566.87
Federal; Married, Q
State: OK, Married, 0 HOURS WORKED
Div/BriDept: OKC/PNANSTR ADJ EARNINGS 1325.82 11535.24
GROSS EARNINGS 1935.88 15663.62
Pay Period: 04/14/11 to 04/22/11 :
Check Date: 04/22/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT (3} YTD (8)
NET FAY ALLOCATIONS :

: GARNISHMENT 1 392.36 2746.52
DESCRIPTION CURRENT ($) YTD (3) MILEAGE REIMBUR -135.61
CHECKING 1 - 0173 878.43 8704.56 FORT DEARBORN V 16.58 128.50
Net Pay 878.43 6704.56

TOTAL 408.94 2738.41
WITHHOLDINGS DESCRIPTION CURRENT ($) YTD (3)
FEDERAL WiH 120.60 1065.60
OASDE 63,82 550.30
MEDICARE 22.03 189.97
. STATE WH OK 32.00 286.00
TOTAL 238.45 2091.27
: CURRENT ($) -YTD ($}
NET PAY
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2712 N.W. 158TH STREET : UNITS UNITS
EDMOND, OK 73073
REGULAR EARNING 1935.89 17423.01
Soc Sec #: XXX-XX-XXXX Employee ID: 9984 INCENTIVE . 187.50
Hire Date: 07/27/05 MED 125 POP EE “378.74 ~2657.18
Status: FT PRE TAX AFLAC -37 74 -337.81
Filing Status: 401K EE -193.59 -1760.46
Federal: Married, 0
State: OK, Married, 0 HOURS WORKED
Div/BriDept: OKC/PN/INSTR ADJ EARNINGS 4325.82 12861 .06
GROSS EARNINGS 1935.89 17604.51
Pay Period: 04/23/11 to 05/08/11 : .
Check Date: G5/06/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT (9) YTD ($)
NET PAY ALLOCATIONS
GARNISHMENT 7 46.68 2793.20
DESCRIPTION CURRENT ($} YTD {3} MILEAGE REIMBUR -135.84
CHECKING 1- 0713 4024.14 7728.67 FORT DEARBORN V 16.58 146.98
Net Pay 1024.44 7728.87
: TOTAL 63.26 2802.67
WITHHOLDINGS DESCRIPTION CURRENT (8) YTD ($)
FEDERAL WiH 120.60 1185.60
OASDI 63.62 614.12
MEDICARE 22.03 212.00
STATE Wit OK 32.00 348.00
~ TOTAL 238.45 2329.72
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2712 N.W. 159TH STREET UNITS UNITS
EDMOND, OK 73013
REGULAR EARNING 1935.89 19358.90
Soc Sec #: XXX-XX-XXXX Employee ID: 9984 INCENTIVE 181.50
Hire Date: 07/27/05 MED 125 POP EE -378.74 -3029.92
Status: FT -PRE TAX AFLAC -37.74 -369.55
Filing Status: 401K EE -1760.46
Federal: Married, 0 :
Siate: OK, Married, 0 HOURS WORKED
Div/Br/Dept: OKC/PNANSTR ADJ EARNINGS 1519.44 14380.47
; GROSS EARNINGS 1935,89 19540.40
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NET PAY ALLOCATIONS : ,
. i GARNISHMENT 14 2793,20
DESCRIPTION CURRENT (3) - YTD () |! MILEAGE REIMBUR . -135.81
CHECKING 7 - 0113 1225.34 8954.01 ; FORT DEARBORN V 16.58 161.66
Net Pay 1225.34 8954.01 |
TOTAL 16.58 2819.25
WITHHOLDINGS DESCRIPTION CURRENT (3) YTD (3)
FEDERAL WH 149.64 © 1335.24
OASDI 63.82 677.94
MEDICARE 22,03 234.03
STATE WiH OK 42.00 360.00
~ TOTAL 277.49 2607.21
CURRENT (3) YTD ($}
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2712 N.W. 159TH STREET - | UNITS UNITS
EDMOND, OK 73013 i
i REGULAR EARNING 1935.89 21294.79
Soc Sec #: XXX-XX-XXXX Employee ID: 9984 INCENTIVE 481,50
Hire Date: 07/27/05 i MED 125 POP EE “378.74 -3408.66
Status: FT : PRE TAX AFLAC -37.74 -A07.29
Filing Status: i 401K EE -1760.48
Federal: Married, 0
Stata: OK, Married, 0 HOURS WORKED
Div/Bridept: OKC/PN/INSTR ADJ EARNINGS 1519.41 15899,88
GROSS EARNINGS 1935.89 21476.29
Pay Period: 05/15/11 to 05/28/11
Check Date: 06/03/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT ($) YTD (B)
NET PAY ALLOCATIONS :
GARNISHMENT 1 2793.20
DESCRIPTION CURRENT (3} YTD ($) MILEAGE REIMBUR -135.64
CHECKING 1 - 0113 1225.34 10179,35 FORT DEARBORN V 16.58 178.24
Net Pay 1225.34 10179.35
TOTAL 16.58 2835.83
WITHHOLDINGS DESCRIPTION CURRENT (3) YTD (3)
FEDERAL WH 148.64 1484.88
OASDI 63.82 741.76
MEDICARE 22.03 256.06
STATE WH OK 42.00 402.00
TOTAL 277.49 "3884.70
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EDMOND, OK 73013 i
REGULAR EARNING 1935.89 23230.68
Soc Sec #: XXX-XX-XXXX Employee ID: 9984 i INCENTIVE 181.50
Hire Date: 07/27/05 MED 125 POP EE -378.74 -3787.40
Status: FT i PRE TAX AFLAC -37.74 445.03
Filing Status: : 401K EE -1760.46
Federal: Married, 0 :
State: OK, Married, 0 HOURS WORKED
‘Div/Br/Dept: OKC/PN/INSTR ADJ EARNINGS 1519.41 17419.29
; GROSS EARNINGS 1935.89 23412.18
Pay Period: 05/29/41 to 06/11/11 !
Check Date: 06/17/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT (3} YTB £3)
NET PAY ALLOCATIONS
/ : GARNISHMENT 4 2793.20
DESCRIPTION CURRENT (3) YTD (3) MILEAGE REIMBUR - -135.614
CHECKING 17 - 0113 1225.34 11404.89 FORT DEARBORN V 16.58 194.82
Net Pay 1225,34 11404.69
TOTAL 16.58 2852.41
WITHHOLDINGS DESCRIPTION CURRENT ($) YTD (3)
FEDERAL WiH 149.64 1634.52
OASDI 63.82 805.58
MEDICARE 22.03 278.09
STATE WH OK 42,00 444.00
7 TOTAL 277.49 3162.19
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EARNINGS rice Sp hod Lea tat ta wee ee ate. a. ae mye Rit tates fat! Stet ico Rae Etat add Recta hc aabecend AUER en ah Soe Bente ajo tee, al cones
STACI M SWIM : DESCRIPTION HRS/ RATE CURRENT (9) YTD ARS YTD (3)
2712 NW. 159TH STREET UNITS “ UNITS
EDMOND, OK 73013
REGULAR EARNING 1935.89 25166.57
Soc Sec #: XXX-XX-KXXX Employee ID: 9984 INCENTIVE 181.50
Hire Date: 07/27/05 MED 125 POP EE -378.74 ~4166.14
Status: FT PRE TAX AFLAC -37 74 482.77
Filing Status: 401K EE : -1760.46
Federal: Married, 0
State: OK, Married, 0 HOURS WORKED
Div/Br/Dept: OKC/PM/INSTR ADJ EARNINGS 1519.41 18938.70
GROSS EARNINGS 1935.89 25348.07
Pay Period: 06/19/11 to 07/02/17
Check Date: 07/01/11 Check #: Direct Deposit DEDUCTIONS DESCRIPTION CURRENT ($) YTD (8)
NET PAY ALLOCATIONS : ,
GARNISHMENT 4 2793.20
DESCRIPTION CURRENT ($) YTD ($4 MILEAGE REIMBUR ~ 135.61
CHECKING 7 - 0113 1225.34 12630.03 =| FORT DEARBORN V 16.58 211.40
Net Pay 1225.34 12630.03
TOTAL 46.58 2868.99
WITHHOLDINGS DESCRIPTION CURRENT ($) YTD (9)
FEDERAL WiH 149.54 1784.16
CASDI . 63.82 869.40
MEDICARE 22.03 300.12
STATE WH OK 42.00 486.00
7” - TOTAL 277.49 3439.68
; CURRENT ($) YTD (8)
NET PAY ,
. 1225,34 12630.03

 

 

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PH; (948)376-9494

 

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BANK OF AMERICA

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ALL BANK OF AMERICA BANKS

 

STACI M SWIM
2712 NW. 158TH STREET
EDMOND OK 73013

Total Net Direct Deposit(s)
**$4629.44**

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Direct
Deposit

  
  

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AUTHORIZED SIGNATURE(S)

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STACI M SWIM

2712 N.W. 159TH STREET

EDMOND, OK 73013

Soc Sec #: XXX-XX-XXXX Employee ID: 9984

Hire Date: 07/27/05
Status: FT

Filing Status:
Federal: Married, 9

State; OK, Married, 9

Divi/BriDept: OKC/PN/INSTR

Pay Period: 07/03/11 to O7/M6/11
Check #: Direct Deposit

Check Date: 07/15/11

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NET PAY ALLOCATIONS

DESCRIPTION CURRENT (8)
CHECKING 1 - 0113 1629.44
Net Pay 1629.44

YTD {3)

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14259.47

 

 

 

DESCRIPTION HRS/ «RATE «CURRENT($). YTD HRS/ YTD (3)
UNITS UNITS
REGULAR EARNING 1935.89 27102.46
INCENTIVE 12.00 24.1986 290.38 12.00 471,88
MED 125 POP EE 378.74 -A5 44,88
PRE TAX AFLAC “37,74 520.51
401k EE -1760.46
HOURS WORKED
ADJ EARNINGS 4809.79 20748.49
GROSS EARNINGS —-12.00 2226.27 12.00 27574.34
DEDUCTIONS DESCRIPTION CURRENT (3) ¥TD (8)
GARNISHMENT 1 2793.20
MILEAGE REIMBUR 135.61
FORT DEARBORN V 16.58 22798
TOTAL 16.58 2885.57
WITHHOLDINGS DESCRIPTION CURRENT (3) YTD (8)
FEDERAL WH 22.52 1806.68
ASD! 76.01 945.41
MEDICARE 26.24 326.36
STATE WH OK 39.00 55,00
TOTAL 463,77 3603.45
CURRENT (3) YTD (§)
NET PAY - .
. 1629.44 44259.47

 

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